






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-12-00611-CV






In re Henry Gonzales, Jr., Appellant






ORIGINAL PROCEEDING FROM TRAVIS COUNTY





M E M O R A N D U M  O P I N I O N


		Relator Henry Gonzales filed a petition for writ of mandamus, seeking to compel the
Honorable Karen Sage to set aside her order removing court-appointed trial counsel as his attorney
of record.  After her removal of trial counsel, Judge Sage recused herself from these proceedings,
and the Honorable Bob Perkins was assigned to preside over the underlying case.  We abated this
mandamus petition to give Judge Perkins the opportunity to review Gonzales's underlying complaint.
See In re Gonzales, No. 03-12-00611-CV, 2012 WL 5834881, at *1-2 (Tex. App.--Austin Nov. 16,
2012, orig. proceeding).

		Judge Perkins has since provided this Court with an order, signed on December 6,
2012, granting Gonzales's motion to set aside Judge Sage's order removing court-appointed trial
counsel.  Since Gonzales has received the relief requested in his mandamus petition, we dismiss the
petition for writ of mandamus as moot.  See In re Luna, 317 S.W.3d 484, 484 (Tex. App.--Amarillo
2010, orig. proceeding).



						__________________________________________

						Scott K. Field, Justice

Before Chief Justice Jones, Justices Puryear and Field

Filed:   January 17, 2013


